Case 23-13237-pmm           Doc 249-3 Filed 06/10/24 Entered 06/10/24 18:57:20                   Desc
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                             United States Bankruptcy Court
                             Eastern District of Pennsylvania
In re:                                                 Case No. 23-13237-pmm

         Tri-State Paper, Inc.,                        Chapter 11

                        Debtor.


                               Notice of Debtor’s Application
                   to Employ MPN Realty, Inc. as Debtor’s Real Estate Agent

       The Debtor in the above-captioned matter has filed an application requesting approval to
appoint MPN Realty, Inc. as its real estate agent.

1.       Your rights may be affected. You should read these papers carefully and discuss them
         with your attorney, if you have one in this bankruptcy case. (If you do not have an
         attorney, you may wish to consult an attorney).

2.       If you do not want the court to grant the relief sought in the application or if you want
         the court to consider your views on the application, then on or before Monday, June 17,
         2024, you or your attorney must file a response to the application.

3.       If you do not file a response to the application, the court may enter an order granting the
         relief requested in the application.

4.       If a copy of the application is not enclosed, a copy of the application will be provided to you
         if you request a copy from the attorney whose name and address is listed on the next page
         of this notice.

5.       If you are required to file documents electronically by Local Bankruptcy Rule 5005-1,
         you must file your response electronically.

6.       If you are not required to file electronically, you must file your response at U.S.
         Bankruptcy Court, 900 Market Street, Suite 400, Philadelphia, PA 19107.

7.       If you mail your response to the bankruptcy clerk’s office for filing, you must mail it early
         enough so that it will be received on or before the deadline in paragraph two.

8.       On the same day that you file or mail your response to the application, you must mail or
         deliver a copy of the Response to the movant’s attorney:

                                                Michael A. Cibik
                                                Cibik Law, P.C.
                                                1500 Walnut Street, Suite 900
                                                Philadelphia, PA 19102
                                                215-735-1060
                                                mail@cibiklaw.com

Dated: June 10, 2024
